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From: Marilyn Mosby

Sent: Wednesday, July 15, 2020 5:49 PM

To: Zy Richardson

Ce: Jeneffer Haslam;Michael Collins
Subject: Re: Questions from Brew to Ms. Mosby

I changed it to reflect the responses from Zy and added the part Jenn referenced. Tell me your thoughts before
we send,

3) what was/is the purpose of setting up Mahogany Elite Enterprises LLC?

The idea was to set up a travel company to help underserved black families who don’t usually have the
opportunity to travel outside of urban cities, so they can vacation at various destinations throughout the world at
discount prices. This is a long-term venture, hence the reason why there are no clients and she has not received
a single cent in revenue. There are no plans to operate the company while she is State’s Attorney.

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4) What “traveling hospitality services” and “consulting and legal services” are they providing?

None.

5) who are the clients? (Yourself? Others?)

None.

6) Have these entities received any revenues or reimbursements? If so, from what sources?

No.

Sent from my iPhone

On Jul 15, 2020, at 5:32 PM, Zy Richardson <zrichardson(@stattomey.org> wrote:
Are the responses final? Their asking me for them.

Sent from my iPhone

